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October 19, 2023


VIA ECF


Clerk, United States Court of Appeals
 for the Second Circuit
Thurgood Marshall United States Courthouse
40 Foley Square
New York, NY 10007

Re:       Benzor Shem Vidal v. Advanced Care Staffing, LLC
          Court of Appeals Docket No.: 23-303

Dear Clerk of the Court,

This letter is a request to withdraw my appearance on behalf of the defendant-appellant Advanced
Care Staffing, LLC in the above referenced matter. I make this request because I am no longer
associated with the law firm of FordHarrison, LLP and no longer represent the defendant-
appellant. Other attorneys from FordHarrison, LLP continue to represent the defendant-appellant
Advanced Care Staffing, LLC. Under these circumstances, I respectfully request that my
appearance be withdrawn and that I be removed from the Court’s service list with respect to the
above-captioned action.

Please contact me if you need any addition information. Thank you for your attention to this
request.

Sincerely,


Craig T. Dickinson

CTD//dcw




 littler.com
